The Attorney General has received your request for an opinion wherein you ask the following questions: "Are the Student Government Association and the Residence Halls Association of Oklahoma State University covered by and subject to the provisions of the Oklahoma Open Meeting Act? If so, which requirements of the statute are they compelled to follow and in what manner ? Both the Student Government Association and the Residence Halls Association are sub-entities of a board of higher education as referred to in subsection one of 25 O.S. 304 [25-304] (1977): " 'Public body' means the governing bodies of all municipalities located within the State of Oklahoma, Boards of County Commissioners of the counties of the State of Oklahoma, Boards of Public and Higher Education in the State of Oklahoma, and all boards, bureaus, commissions, agencies, trusteeships, authorities, councils, committees, public trusts, task forces or study groups in the State of Oklahoma supported in whole or in part by public funds, or entrusted with the expending of public funds, or administering public property, and shall include all committees of any public body . . ." In construing the prior Open Meeting Act, 25 O.S. 201 [25-201] (1971), which was replaced by the current Open Meeting Act in 1977, and which is substantially the same as the portion cited above, the Supreme Court of Oklahoma in Carl M.D. v. Board of Regents of the University of Oklahoma, 577 P.2d 912
(1978) stated that the controlling factor to be considered is the authority of the subentity to exercise actual or defacto decision-making authority. These two bodies have the authority to make decisions concerning the student population of the University from which no student may be exempted and also make decisions concerning the dispersement of funds collected.  It is, therefore, the opinion o the Attorney General that the Student Government Association and the Residence Halls Association are subentities of a board of higher education within the meaning of 26 O.S. 304 [26-304] (1977), Sub-section 1, which have actual or defacto decision-making authority. As such, the Student Government Association and the Residence Halls Association are subject to all the requirements of 25 O.S. 301 [25-301] et seq. (1977), and are compelled to follow the provisions of the act in the manner in which they were enacted.  (CAROL ELAINE ALEXANDER) (ksg)